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                                                                                         United States Bankruptcy Court
                                                                                             Southern District of Texas

                                                                                                ENTERED
                      IN THE UNITED STATES BANKRUPTCY COURT                                 November 14, 2023
                        FOR THE SOUTHERN DISTRICT OF TEXAS                                   Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

IN RE:                                              §
                                                    §
2518 CLEBURNE HOUSING LLC                           §            CASE NO. 23-32106-H3
                                                    §
                                                    §
        DEBTOR.                                     §            CHAPTER 11 SUB V


            ORDER GRANTING DEBTOR’S MOTION TO SELL PROPERTY
                           (Relates to Dkt. No. 48)

         The Court has considered the Debtor’s Motion for (i) Approval of Sale of Real Property
and (ii) Order Authorizing Payment of Certain Closing Expenses and Fees. The Court finds that
(i) the proposed sale is in the best interest of the estate and its creditors; (ii) adequate notice of the
proposed sale and the hearing to consider the sale has been given to all creditors and parties-in-
interest. Accordingly, it is:

ORDERED THAT:

1.              The Debtor’s Motion for (i) Approval of Sale of Real Property and (ii) Order
Authorizing Payment of Certain Closing Expenses and Fees is GRANTED. The earnest money
contract attached as Exhibit 1 to the Order is approved.

        2.      The Debtor is authorized to sell the real property (the “Property”) described on
Exhibit 1 to I-Solutions Development, Inc. (the “Buyer”) for a purchase price of $1,350,000.00,
which includes up to $350,000.00 in closing cost paid by the Buyer. The title company authorized
to close the sale is Millennial Title Co. at 5373 W Alabama St. Houston, TX 77056.

       3.     Closing may occur on or before December 29, 2023, unless extended by agreement
with the Debtor and the Buyer.

        4.       The Debtor is authorized to pay from the sale proceeds and Millennial Title Co. is
authorized to disburse at closing (i) the ordinary and usual closing expenses including the cost of
a title policy; (ii) all lienholders paid in full and (iii) all outstanding ad valorem taxes (pro-
rated for current year); (iii) payment in the amount of $5,000.00 to Mr. Thomas A.
Howley, Subchapter V Trustee. The remaining funds shall be delivered to the Debtor’s
attorney, Tran Singh, LLP, c/o Brendon Singh, 2502 La Branch Street, Houston, Texas
77004 or by electronic wire transfer. Broker's fees shall not be paid at closing but is subject to
further order of this Court.

        5.      All liens, claims, interests, and encumbrances shall continue in the net sales
proceeds to the same extent, validity, and priority as they existed against the Property. Except for
the foregoing and a special warranty of title, the Property shall be conveyed to the Buyer “as is,
where is” with no representation or warranty of any kind. Any statutory lien for real property ad
valorem taxes for 2023 shall continue in full force and effect.
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         6.      The Debtor is authorized to execute all documents necessary to effectuate the sale,
  including but not limited to a special warranty deed conveying all right, title and interest in and to
  the Property to the Buyer.

         7.      The Court retains jurisdiction to the extent allowed by law to interpret and enforce
  the provisions of this Order and the transactions contemplated herein.


   SIGNED
Signed:    this __________
        November  14, 2023 day of _______________________, 2023.



                                                 __________________________________
                                                 EDUARDOEduardo
                                                           V. RODRIGUEZ,
                                                                    V. Rodriguez
                                                 CHIEF UNITED    STATE   BANKRUPTCY
                                                    Chief United States Bankruptcy Judge JUDGE




  Agreed:


  /s/Brendon Singh
  Brendon Singh
  Attorney for Debtor


  /s/Jack O’Boyle (with permission) _______
  Jack O’Boyle
  Attorney for NewRez LLC (First Lienholder)




  Michael Holmes
  Attorney for TBF Financial LLC (Second Lienholder)
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                                                    PROMULGATED BY THE TEXAS REAL ESTATE COMMISSION (TREC)
                                                                                                                                                                  11-07-2022
                                                                                                                                                                                           1
                       � ONE TO FOUR FAMILY RESIDENTIAL CONTRACT (RESALE)
                       TREC                                NOTICE: Not For Use For Condominium Transactions                                                            EQUAL HOUSING
                                                                                                                                                                        OPPORTIJNITY




                  1. PARTIES: The parties to this contract are              2518 Cleburne Housing LLC
                     (Seller) and                          I-SOLUTIONS DEVELOPMENT, INC                        (Buyer).
                     Seller agrees to sell and convey to Buyer and Buyer agrees to buy from Seller the Property defined
                     below.
                 2. PROPERTY: The land, improvements and accessories are collectively referred to as the
                    Property (Property).
                    A. LAND: Lot         10 & 11      Block         10                       WASHINTGON TERRACE
                        Addition, City of                Houston                 , County of            HARRIS
                        Texas, known as                         2516 & 2518 Cleburne St                          77004
                        (address/zip code), or as described on attached exhibit.
                    B. IMPROVEMENTS: The house, garage and all other fixtures and improvements attached to the
                        above-described      real   property,   including   without    limitation, the following permanently
                        installed and built-in items, if any: all equipment and appliances, valances, screens,
                        shutters, awnings, wall-to-wall carpeting, mirrors, ceiling fans, attic fans, mail boxes, television
                        antennas, mounts and brackets for televisions and speakers, heating and air-conditioning units,
                        security and fire detection equipment, wiring, plumbing and lighting fixtures, chandeliers, water
                        softener system, kitchen equipment, garage door openers, cleaning equipment, shrubbery,
                        landscaping, outdoor cooking equipment, and all other property attached to the above
                        described real property.
                    C. ACCESSORIES: The following described related accessories, if any: window air conditioning
                        units, stove, fireplace screens, curtains and rods, blinds, window shades, draperies and rods,
                        door keys, mailbox keys, above ground pool, swimming pool equipment and maintenance
                        accessories, artificial fireplace logs, security systems that are not fixtures, and controls for: (i)
                        garage doors, (ii) entry gates, and (iii) other improvements and accessories. "Controls" includes
                        Seller's transferable rights to the (i) software and applications used to access and control
                        improvements or accessories, and (ii) hardware used solely to control improvements or
                        accessories.
                    D. EXCLUSIONS: The following improvements and accessories will be retained by Seller and
                        must be removed prior to delivery of possession: ______________________


                                                                                                                                                                                        I c��
                                                                                                                                                                                         -DS

                       E.    RESERVATIONS: Any reservation for oil, gas, or other                                        minerals,      water,      timber,       or      other
                             interests is made in accordance with an attached addendum.
                  3.   SALES PRICE:
                       A. Cash portion of Sales Price payable by Buyer at closing .............................................. $ ____           1, 000, 000. 00
                            The term "Cash portion of the Sales Price" does not include proceeds from borrowing of any                                                                         �
                            kind or selling other real property except as disclosed in this contract.
                                                                                           D
                                                                                                                                                                                       r-z;�
                       B. Sum of all financing described in the attached: Third Party Financing Addendum,
                              DLoan Assumption Addendum,                 D
                                                                  Seller Financing Addendum ................................. $
                       C. Sales Price (Sum of A and B) ....................................................................................... $ ___
                                                                                                                                                   1,000,000 00
                  4. LEASES: Except as disclosed in this contract, Seller is not aware of any leases affecting the
                       Property. After the Effective Date, Seller may not, without Buyer's written consent, create a new                                                                 �Ds
                       lease, amend any existing lease, or convey any interest in the Property. (Check all applicable
                       boxes)
                   Ix] A. RESIDENTIAL LEASES: The Property is subject to one or more residential leases and the
                            Addendum Regarding Residential Leases is attached to this contract.
                   D   B. FIXTURE LEASES: Fixtures on the Property are subject to one or more fixture leases (for
                            example, solar panels, propane tanks, water softener, security system) and the Addendum
                            Regarding Fixture Leases is attached to this contract.
                   D   C. NATURAL RESOURCE LEASES: "Natural Resource Lease" means an existing oil and gas,
                            mineral, water, wind, or other natural resource lease affecting the Property to which Seller is a
                            party.
                       Ix] (1) Seller has delivered to Buyer a copy of all the Natural Resource Leases.
                       D   (2) Seller has not delivered to Buyer a copy of all the Natural Resource Leases. Seller shall
                                 provide to Buyer a copy of all the Natural Resource Leases within 3 days after the Effective
                                 Date. Buyer may terminate the contract within __ days after the date the Buyer
                                 receives all the Natural Resource Leases and the earnest money shall be refunded to
                                 Buyer.


               Initialed for identification by Buyer@- ___ and Seller� ___                                                                                  TREC NO. 20-17

      WISEMAN PROPERTLES, 4801 WOODWAY DR. STE 300E Houston TX 77056                                               Phone: 2819000321            Fax: 7132398793                    2516 Cleburne
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              Contract Concerning ______2_5_1_6_&_2_5_1_8_C_le_b_ u_r_ne_St_,_H_o_u _st_o_ n_, T_X_7_7 _ 0_04______ Page 5 of 11                           11-07-2022
                                                              (Address of Property)
                        (Check one box only)
                        Ix] (1) Buyer accepts the Property As Is.
                        D   (2) Buyer accepts the Property As Is provided Seller, at Seller's expense, shall complete the
                                following specific repairs and treatments:

                                (Do not insert general phrases, such as "subject to inspections" that do not identify specific
                                repairs and treatments.)
                   E. LENDER REQUIRED REPAIRS AND TREATMENTS: Unless otherwise agreed in writing, neither
                      party is obligated to pay for lender required repairs, which includes treatment for wood
                      destroying insects. If the parties do not agree to pay for the lender required repairs or
                      treatments, this contract will terminate and the earnest money will be refunded to Buyer. If
                      the cost of lender required repairs and treatments exceeds 5% of the Sales Price, Buyer may
                      terminate this contract and the earnest money will be refunded to Buyer.
                   F. COMPLETION OF REPAIRS AND TREATMENTS: Unless otherwise agreed in writing, Seller shall
                      complete all agreed repairs and treatments prior to the Closing Date and obtain any required
                      permits. The repairs and treatments must be performed by persons who are licensed to
                      provide such repairs or treatments or, if no license is required by law, are commercially
                      engaged in the trade of providing such repairs or treatments. Seller shall: (i) provide Buyer
                      with copies of documentation from the repair person(s) showing the scope of work and
                      payment for the work completed; and (ii) at Seller's expense, arrange for the transfer of any
                      transferable warranties with respect to the repairs and treatments to Buyer at closing. If Seller
                      fails to complete any agreed repairs and treatments prior to the Closing Date, Buyer may
                      exercise remedies under Paragraph 15 or extend the Closing Date up to 5 days if necessary for
                      Seller to complete the repairs and treatments.
                   G. ENVIRONMENTAL MATTERS: Buyer is advised that the presence of wetlands, toxic substances,
                      including asbestos and wastes or other environmental hazards, or the presence of a threatened
                      or endangered species or its habitat may affect Buyer's intended use of the Property. If Buyer
                      is concerned about these matters, an addendum promulgated by TREC or required by the
                      parties should be used.
                   H. RESIDENTIAL SERVICE CONTRACTS: Buyer may purchase a residential service contract from a
                      provider or administrator licensed by the Texas Department of Licensing and Regulation. If
                       Buyer purchases a residential service contract, Seller shall reimburse Buyer at closing for the
                      cost of the residential service contract in an amount not exceeding $ __________ . Buyer
                      should review any residential service contract for the scope of coverage, exclusions and
                      limitations. The purchase of a residential service contract is optional. Similar coverage
                      may be purchased from various companies authorized to do business in Texas.
              8.   BROKERS AND SALES AGENTS:
                   A. BROKER OR SALES AGENT DISCLOSURE: Texas law requires a real estate broker or sales
                      agent who is a party to a transaction or acting on behalf of a spouse, parent, child, business
                      entity in which the broker or sales agent owns more than 10%, or a trust for which the
                      broker or sales agent acts as a trustee or of which the broker or sales agent or the broker or
                      sales agent's spouse, parent or child is a beneficiary, to notify the other party in writing
                      before entering into a contract of sale. Disclose if applicable:

                   B. BROKERS' FEES: All obligations of the parties for payment of brokers' fees are contained in
                      separate written agreements.
              9.   CLOSING:
                   A. The closing of the sale will be on or before December 30                 , 2023   , or within 7 days after
                      objections made under Paragraph 6D have been cured or waived, whichever date is later
                      (Closing Date). If either party fails to close the sale by the Closing Date, the non-defaulting
                      party may exercise the remedies contained in Paragraph 15.
                   B. At closing:
                      (1) Seller shall execute and deliver a general warranty deed conveying title to the Property to
                           Buyer and showing no additional exceptions to those permitted in Paragraph 6 and furnish
                           tax statements or certificates showing no delinquent taxes on the Property.
                      (2) Buyer shall pay the Sales Price in good funds acceptable to the Escrow Agent.
                      (3) Seller and Buyer shall execute and deliver any notices, statements, certificates, affidavits,
                           releases, loan documents, transfer of any warranties, and other documents reasonably
                           required for the closing of the sale and the issuance of the Title Policy.
                      (4) There will be no liens, assessments, or security interests against the Property which will
                           not be satisfied out of the sales proceeds unless securing the payment of any loans
                           assumed by Buyer and assumed loans will not be in default.
                      (5) Private transfer fees (as defined by Chapter 5, Subchapter G of the Texas Property Code)
                           will be the obligation of Seller unless provided otherwise in this contract. Transfer fees
                           assessed by a property owners' association are governed by the Addendum for Property
                           Subject to Mandatory Membership in a Property Owners Association.

                                                                            and Seller HT-11,11--+-                                                    TREC NO. 20-17
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              Contract Concerning ______2_5_1_6_&_2_5_1_8_C_le_b_ u_r_ne_St_,_H_o_u _st_o_ n_, T_X_7_7 _ 0_04______ Page 6 of 11                           11-07-2022
                                                              (Address of Property)
              10. POSSESSION:
                  A. BUYER'S POSSESSION: Seller shall deliver to Buyer possession of the Property in its present or
                     required condition, ordinary wear and tear excepted: Ix] upon closing and funding             according                           D
                     to a temporary residential lease form promulgated by TREC or other written lease required by
                     the parties. Any possession by Buyer prior to closing or by Seller after closing which is not
                     authorized by a written lease will establish a tenancy at sufferance relationship between the
                     parties. Consult your insurance agent prior to change of ownership and possession
                     because insurance coverage may be limited or terminated. The absence of a written
                     lease or appropriate insurance coverage may expose the parties to economic loss.
                  B. SMART DEVICES: "Smart Device" means a device that connects to the internet to enable
                     remote use, monitoring, and management of: (i) the Property; (ii) items identified in any Non­
                     Realty Items Addendum; or (iii) items in a Fixture Lease assigned to Buyer. At the time Seller
                     delivers possession of the Property to Buyer, Seller shall:
                     (1) deliver to Buyer written information containing all access codes, usernames, passwords,
                          and applications Buyer will need to access, operate, manage, and control the Smart
                          Devices; and
                     (2) terminate and remove all access and connections to the improvements and accessories
                          from any of Seller's personal devices including but not limited to phones and computers.
              11. SPECIAL PROVISIONS: (This paragraph is intended to be used only for additional informational
                  items. An informational item is a statement that completes a blank in a contract form, discloses
                  factual information, or provides instructions. Real estate brokers and sales agents are prohibited
                  from practicing law and shall not add to, delete, or modify any provision of this contract unless
                  drafted by a party to this contract or a party's attorney.) ANY EXISTING LEASES WILL CONVEY TO BUYER
                   Buyer agrees to pay an amount not to exceed $350,000 above the agreed sales price in order to cover additional
                   Payoff costs/expenses associated with sellers payoffs towards underlying liens and CH11 expenditures.

              12. SETTLEMENT AND OTHER EXPENSES:
                  A. The following expenses must be paid at or prior to closing:
                     (1) Expenses payable by Seller (Seller's Expenses):
                         (a) Releases of existing liens, including prepayment penalties and recording fees; release of
                              Seller's loan liability; tax statements or certificates; preparation of deed; one-half of
                              escrow fee; and other expenses payable by Seller under this contract.
                         (b) Seller shall also pay an amount not to exceed$ NA                        to be applied in the
                              following order: Buyer's Expenses which Buyer is prohibited from paying by FHA, VA,
                              Texas Veterans Land Board or other governmental loan programs, and then to other
                              Buyer's Expenses as allowed by the lender.
                     (2) Expenses payable by Buyer (Buyer's Expenses): Appraisal fees; loan application fees;
                         origination charges; credit reports; preparation of loan documents; interest on the notes
                         from date of disbursement to one month prior to dates of first monthly payments;
                         recording fees; copies of easements and restrictions; loan title policy with endorsements
                         required by lender; loan-related inspection fees; photos; amortization schedules; one-half
                         of escrow fee; all prepaid items, including required premiums for flood and hazard
                         insurance, reserve deposits for insurance, ad valorem taxes and special governmental
                         assessments; final compliance inspection; courier fee; repair inspection; underwriting fee;
                         wire transfer fee; expenses incident to any loan; Private Mortgage Insurance Premium
                         (PMI), VA Loan Funding Fee, or FHA Mortgage Insurance Premium (MIP) as required by the
                         lender; and other expenses payable by Buyer under this contract.
                  B. If any expense exceeds an amount expressly stated in this contract for such expense to be
                     paid by a party, that party may terminate this contract unless the other party agrees to pay
                     such excess. Buyer may not pay charges and fees expressly prohibited by FHA, VA, Texas
                     Veterans Land Board or other governmental loan program regulations.
              13. PRORATION$: Taxes for the current year, interest, rents, and regular periodic maintenance
                  fees, assessments, and dues (including prepaid items) will be prorated through the Closing Date.
                  The tax proration may be calculated taking into consideration any change in exemptions that will affect the
                  current year's taxes. If taxes for the current year vary from the amount prorated at closing, the parties shall
                  adjust the prorations when tax statements for the current year are available. If taxes are not paid at or prior to
                  closing, Buyer shall pay taxes for the current year.
              14. CASUALTY LOSS: If any part of the Property is damaged or destroyed by fire or other casualty
                  after the Effective Date of this contract, Seller shall restore the Property to its previous condition
                  as soon as reasonably possible, but in any event by the Closing Date. If Seller fails to do so due
                  to factors beyond Seller's control, Buyer may (a) terminate this contract and the earnest money

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